
PER CURIAM.
Affirmed. See Jones v. State, 60 So.3d 396 (Fla. 2d DCA 2011) (table decision); Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009) ; Waiter v. State, 965 So.2d 861 (Fla. 2d DCA 2007) ; Jones v. State, 901 So.2d 126 (Fla. 2d DCA 2005) (table decision); Anderson v. State, 779 So.2d 345 (Fla. 2d DCA 2000) ; Harris v. State, 777 So.2d 994 (Fla. 2d DCA 2000) ; Paul v. State, 830 So.2d 953 (Fla. 5th DCA 2002).
MORRIS, BLACK, and ROTHSTEIN-YOUAKIM, JJ., Concur.
